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       Tilt Studio and Tilted 10 have 13 family-friendly locations throughout the United States. Activities and attractions vary at each center, click on a specific
                                                                               location to learn more.



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  Logan Valley Mall                  Parkdale Mall      Magnolia Mall                We lA Ni Cell       Circle Centre Mall          Northpark Mall             Katy Mills Mall


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                  TILTED 10 LOCATIONS                                                                  ROUT                            O Tem ee
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                                                                  These mini arcade centers are not the full Tilt experience but they still pack a fun punch.




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                       West Valley Mall                                       The Plaza at West Covina                               Prince Kuhio Plaza                                      Pearlridge Center (2 Centers)
             3200 North Naglee Road                                                   531 Plaza Drive                               Ill East Puainako St                                        98-1005 Moanalua Road
                       Tracy, CA 95304                                            West Covina, CA 91790                                Hilo, HI 96720                                                  Aiea, HI 96701




                                           Vili              PROGRAM                                                              IT’S EASY TO BECOME
                                                                                                                                                   A VIP AT TILT STUDIO
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 Admission to Tilt Studio is FREE! In order to play games or go on rides, you will                                                                                                  1. REGISTER YOUR TILT STUDIO PLAY CARD AT
 need to purchase a Tilt Studio Play Card that can be used at all attractions                                                                                                      oun commie        see eeiaheieedl
 and video games. The price of each game or attraction will be automatically                                                                                                                    ;
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 When you purchase your Play Card, be sure to register it by giving us your                                                                                                        piscina                   rh rierrcemee taeed
 name, address and email address. That way, once you have an
 accumulative balance of 1200 points on your registered card you can
 upgrade your card to a VIP card and enjoy 10% off all games and attractions!
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                  WHO IS TILT
                  STUDIO?
                  Tilt studios are action-packed family fun centers,
                  located throughout the nation! Each center is




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                    USDC IN/ND case 3:23-cv-00699-CCB-SJF                                     document 1-4        filed 07/25/23            page 3 of 8

     OT                       ction-packed family fun centers,
         located throughout the nation! Each center is
         25,000 to 100,000 square feet of indoor family fun

         with attractions like blacklight laser tag, spin,
         and flip zone bumper cars, amusement         rides,

         blacklight mini-golf, laser frenzy, over 150+
         arcade and video games, pinball, and virtual

         reality!

         In addition to the fun, Tilt Studio has party rooms
         for birthdays, group gatherings, special events,
         and corporate events. Our flexible event spaces
         accommodate small and large gatherings.
         Whether you are looking to host a team building
         event, youth or adult group gathering, non-profit
         fundraiser, special event, or birthday party, Tilt
         Studio can accommodate your event with
         packages designed to fit your budget.




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      Our parent company Nickels and Dimes
      Incorporated was established in 1972 at Six Flags
      Mall in Arlington, TX. The success of the early Gold
      Mine and Tilt arcades have evolved into the Tilt
      Studio and Tilted 10 facilities. While our size has
      changed, our primary focus is still for families of all
      ages to have fun and provide a high quality
      experience.




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                      FUN at FULL BLAST!                                                                               Play Cards
                                                               s&s   1844N Preston Road, Celina, TX 75009              Jobs

               Tilt Studio Locations                           2     (972) 939-4200                                    Contact




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         blacklight mini-golf, laser frenzy, over 150+
         arcade and video games, pinball, and virtual                                                       F eh    Ce    FULL                BLAST. :

         reality!

         In addition to the fun, Tilt Studio has party rooms
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         packages designed to fit your budget.




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      experience.




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                      FUN at FULL BLAST!                                                                                       Play Cards
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  Tilt Studio’s are action-packed family fun centers, located throughout the
  nation! Each center is 25,000 to 100,000 square feet of indoor family fun with
  attractions like black light laser tag, spin and flip zone bumper cars,
  amusement rides, black light mini golf, laser frenzy, over 150+ arcade and
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  your event with packages designed to fit your budget.




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                                                                Locations Coming Soon




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                                       BISMARCK, ND                                                                                    ee              ee




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                                                                                                          Imagine a job where you get to work with your friends. A job
                                                                                                          with competitive pay, flexible scheduling, and you get to
                                                                                                          make people smile. Surround yourself with fun and
                                                                                                          happiness. Check out all the Tilt Studio locations that are
                                                                                                          hiring now!



                                                                                                                 Learn More and Apply




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       PN MNO Et                                                          e101 Ulm mld US                                              EVENTS
       BEST BIRTHDAY PARTIES                                          PERFECT FOR GROUPS                                               GET OUT OF THE OFFICE




  NO WALK-IN BIRTHDAY PARTIES ALLOWED. AT TILT STUDIO, WE WANT TO HOST THE BEST PARTIES & FOR THIS REASON, WE CANNOT ALLOW OUTSIDE FOOD OR PARTY ITEMS INTO OUR STUDIOS. OUR TEAM IS HAPPY TO BOOK
                                                                          YOU A PARTY, WHERE CAKE & DECORATION ARE ALLOWED.




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                                                                          YOU A PARTY, WHERE CAKE & DECORATION ARE ALLOWED.




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 Admission to Tilt Studio is FREE! In order to play games or go on rides, you will                                                                   1. REGISTER YOUR TILT STUDIO PLAY CARD AT
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 or as little money on your Play Card as you would like to spend. You may also                                                                       REGISTERED PLAY CARD YOU CAN UPGRADE
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 reload your Play Card as often as you would like.
                                                                                                                                                     3. AFTER YOU UPGRADE YOUR CARD, RECEIVE
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 When you purchase your Play Card, be sure to register it by giving us your
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